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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


   UNITED STATES OF AMERICA,

                      Plaintiff,

   vs.                                          Case No. 15-cr-20652
                                                Hon. George Caram Steeh

   COREY BAILEY (D-4),
   ROBERT BROWN, II (D-6),
   ARLANDIS SHY, II (D-13),
   KEITHON PORTER (D-19),

                  Defendant.
   _____________________________________________________________

                 DEFENDANTS’ MOTION FOR A NEW TRIAL
                BASED ON NEWLY DISCOVERED EVIDENCE
               AND REQUEST FOR AN EVIDENTIARY HEARING


         The Defendants move this Honorable Court for a new trial under Fed. R.

   Crim. P. 33(b)(1), and the Sixth Amendment to the U.S. Constitution, based on

   newly discovered evidence of juror bias, impartiality, and extraneous prejudicial

   information tainting the deliberations.

         The Defendants alternatively move for an evidentiary hearing under Remmer

   v. United States, 347 U.S. 227, 74 S. Ct. 450, 98 L. Ed. 654 (1954).




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                           BRIEF IN SUPPORT OF
                   DEFENDANTS’ MOTION FOR A NEW TRIAL
                  BASED ON NEWLY DISCOVERED EVIDENCE
                 AND REQUEST FOR AN EVIDENTIARY HEARING



                                              FACTS


          The Defendants named in this Motion were charged in the Sixth Superseding

   Indictment (Doc. 812) with multiple counts. After trial, the jury returned its verdict

   on August 27, 2018, finding the Defendants guilty of multiple counts.

          Here, based on newly discovered evidence, the defense is arguing that one of

   the jurors, “Juror V,” 1 deliberately omitted truthful answers to voir dire questions

   about her bias against gang members, her personal knowledge of facts in the case,

   her reliance of facts not in evidence, and her exposure to media reporting about the

   Seven Mile Bloods. In her answer to the jury voir dire questionnaire, Juror V stated

   that she did not know anyone who ever had a dispute with any member of a gang,

   and she stated that she did not have any views or opinions or any other reason why

   she could not be objective and impartial in this particular case. (Juror V Sealed

   Questionnaire, Doc. 1-16, Pg ID 3274).




   1
    The jurors are referred to by random letters to preserve anonymity, and the attached juror
   Affidavits have been redacted to remove identifying information. The unredacted originals are in
   the possession of Defense Counsel.

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         Juror V was part of the initial jury panel bought in on June 5, 2018, that

   heard all of the void dire opening comments of counsel, the questioning of other

   potential jurors, and the comments and questions posed by this Court. (Voir Dire

   Trans., Doc. 1302, Pg ID 17175). Nevertheless, Juror 391 failed to reveal her

   biases when called to the jury box and questioned by the Court. (Voir Dire Trans,

   Doc. 1303, 17236-238).

         After trial and the verdict was entered, a juror, “Juror F,” contacted a

   defense attorney in this trial group because she believed that inappropriate and

   misleading influences occurred during deliberations. (Exhibit A - Affidavit of Juror

   F). Juror F states that she wrote a letter to this Court, but when she did not receive

   a response, she contacted Defense Counsel Craig Daly to notify him about Juror

   V’s statements during deliberations. Id.

         According to Juror F, Juror V told the jury that she lived adjacent to the “red

   zone,” described at trial, and that she was very familiar with that area. Id. Juror V

   stated that she had seen Seven Mile Bloods graffiti painted on buildings either in

   her neighborhood or in the adjacent neighborhoods. Id. Juror V repeatedly stated

   that although she did not know the Defendants personally, “it was guys like them

   that were ruining the neighborhood.” Id.

         As an influence on the jury deliberations, Juror V accused other “suburban”

   jurors as being naive and uninformed because they did not understand what really


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   went on in the Detroit neighborhoods such as the red zone neighborhood or her

   neighborhood, as she did. Id. When it was pointed out to Juror V that the jury was

   obligated to judge the case based on the facts and evidence introduced at trial, she

   responded that these guys (Defendants) need to burn because of what gangs are

   doing to the city. Id. Juror V had strong opinions regarding gangs, and she was not

   interested in discussing how the facts applied to the law, such as whether the Seven

   Mile Bloods were even an enterprise. Id.

         There was one incident during deliberations where the location of a strip

   club came up, and Juror V stated that she knew of the club, that it was at a certain

   location based on her knowledge of the neighborhood. Id. However, it was never

   stated in the trial where the club was, but Juror V used that outside information to

   try to influence the jury. Id. Juror V had strong feelings about the case and made it

   clear that the Defendants “had to go down” because of their gang activity. Id.

         At one point in the deliberations, the voices got loud, and Juror F even

   pounded on the table. Id. A Marshal came into the jury room and told them they

   could be heard in the courtroom and to quiet down. Id. The Marshal was white,

   somewhat tall with some facial hair. Id. While Juror F felt it was somewhat

   embarrassing to be told to quiet down, the Marshal’s intrusion did not affect Juror

   F, but it may have had an impact on some of the other jurors. Id.




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         It appeared that Juror V and another Juror, “C,” read the Detroit News

   article about the Seven Mile Bloods because in jury deliberations they were stating

   facts about the Seven Mile Bloods that were not presented in evidence, and after

   the trial, Juror F read the article, confirming how Jurors V and C obtained those

   “facts.” Juror V was able to assert disproportionate influence over the other jurors

   because she claimed to know things first hand. Id. Only an evidentiary hearing

   would determine whether they, in fact, read the Detroit News article.

         After Defense Counsel spoke with Juror F, another juror, “Juror L,” was


   contacted.

         Juror L corroborated Juror F’s accusations about the jury deliberations being

   inappropriate or defective. (Exhibit B - Affidavit of Juror L). When the jury was

   hung, Juror L stated that the jury was told by the Court that the jury had to go back

   to deliberate and reach an unanimous verdict, either guilty or not guilty. Id. The

   jury was left with the impression that staying “hung” was not an option. Id. After a

   few more days of deliberations, none of the jurors changed their mind so the jurors

   who were in favor of not guilty changed their votes to guilty believing that there

   was no other way. Id.

         Juror L also confirmed that Juror V said she lived adjacent to the red zone

   and was familiar with that area. Id. Juror V spoke from personal experience about

   how those types of guys, meaning the Defendants, were ruining the neighborhood.

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   Id. When the jury told Juror V that the jury was supposed to decide the case based

   on the evidence that was presented, Juror V reminded everybody that she lived in

   the area as opposed to the suburbanites who did not understand Detroit

   neighborhoods. Id.

         In one instance, the jury was discussing the evidence and the 007 strip club

   came up. Id. Juror V stated that she knew for a “fact” where it was located, and

   Juror L thought she was wrong. Id. Juror L did not believe it was ever presented in

   evidence where the strip club was located. Id.

         It seemed to Juror L that Juror V had a personal interest in this case because

   she lived in a nearby neighborhood and had seen Seven Mile Blood graffiti on

   buildings around her neighborhood. Id. Juror V was able to influence the other

   jurors regarding facts or information that was not put into evidence. Id.

         Juror V confirmed that, without a juror asking for assistance, a Marshal

   came into the jury room during heated deliberations. Id. Juror L stated that he was

   not influenced by the Marshal’s entry, but he could not say how much it affected

   other jurors since the next day the jury was quieter. Id.




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                                      ARGUMENT


         Under Rule 33 of the Federal Rules of Criminal Procedure “the court may

   vacate any judgment and grant a new trial if the interest of justice so requires."

   Fed. R. Crim. P. 33(1).

         The fair trial right secured by the Sixth Amendment guarantees that an

   accused is entitled to "trial[] by an impartial jury." U.S. Const. amend. VI. The

   Supreme Court has held the right to jury trial in criminal cases "fundamental to our

   system of justice." Duncan v. Louisiana, 391 U.S. 145, 153-54, 88 S. Ct. 1444, 20

   L. Ed. 2d 491 (1968). The right to a jury trial presupposes "an absolute right to a

   fair and impartial jury." Id.

         The United States Supreme Court has held that the remedy for allegations of

   juror partiality is a hearing in which the defendant has the opportunity to prove

   actual bias. Smith v. Phillips, 455 U.S. 209, 215, 102 S. Ct. 940, 945 (1982).

         A district court also "has an obligation to investigate a colorable claim of

   external influence on the jury to determine whether any external influence occurred

   and, if so, whether it was prejudicial." United States v. Lanier, 870 F.3d 546, 549

   (6th Cir. 2017)(citing Remmer v. United States, 347 U.S. 227, 229-30, 74 S. Ct.

   450, 98 L. Ed. 654, 1954-1 C.B. 146 (1954)).




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         In this case, the Defendants argue that Juror V was impartial and biased

   against him, and that she deliberately answered the voir dire questions in a way to

   hide and omit her bias and impartiality.

         For a juror's nondisclosure of bias during voir dire to warrant a new trial, a

   defendant must show that (1) the juror "failed to answer honestly a material

   question on voir dire," and (2) "a correct response would have provided a valid

   basis for a challenge for cause." McDonough Power Equip., Inc. v. Greenwood,

   464 U.S. 548, 556, 104 S. Ct. 845, 78 L. Ed. 2d 663 (1984).

         Where the juror’s omission was unintentional, a defendant must show

   "actual bias," but where the omission was intentional, bias may be inferred. Zerka

   v. Green, 49 F.3d 1181, 1186 (6th Cir. 1995) (quoting United States v. Patrick, 965

   F.2d 1390, 1399 (6th Cir. 1992)).

         Here, the defense presents the affidavits and testimony of two jurors, Juror F

   and Juror L, to show not only that Juror V was biased and intentionally omitted her

   unfair impartiality during voir dire, but that she injected her alleged personal

   knowledge of facts, facts not in evidence, and apparently relied on a Detroit News

   article about the Seven Mile Bloods during deliberations (which another juror,

   Juror “C,” did as well).




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         A juror may testify about whether extraneous prejudicial information was

   improperly brought to the jury's attention, or whether an outside influence was

   improperly brought to bear on any juror. Fed. R. Evid. 606(b)(2).

         Information "derive[d] from a source external to the jury" is generally

   "deemed extraneous" and therefore falls within Rule 606(b)'s exceptions. Warger

   v. Shauers, 135 S. Ct. 521, 529, 190 L. Ed. 2d 422 (2014)(internal quotation marks

   omitted). Examples of extraneous influence include a jury's consideration of facts

   not introduced in evidence, or newspaper articles and media attention. United

   States v. Herndon, 156 F.3d 629, 635 (6th Cir. 1998)(citing United States v.

   Thomas, 463 F.2d 1061 (7th Cir. 1972)). See also United States v. Swinton, 75 F.3d

   374, 381 (8th Cir. 1996) (jury's discussion of the defendant's prior conviction,

   evidence of which had not been introduced at trial, was "extraneous prejudicial

   information"); Hard v. Burlington N. R.R., 812 F.2d 482, 485-86 (9th Cir. 1987)

   (juror's knowledge of a party's settlement practices was extraneous), abrogated on

   other grounds by Warger, 135 S. Ct. 521, 190 L. Ed. 2d 422; In re Beverly Hills

   Fire Litig., 695 F.2d 207, 214-15 (6th Cir. 1982) (testimony that a juror conducted

   improper experimentation was admissible under Rule 606(b) and required

   reversal).

         In English v. Berghuis, 900 F.3d 804 (6th Cir. 2018), the United States Sixth

   Circuit decided a habeas case originating from a Michigan state conviction. The


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  petitioner was convicted of third-degree criminal sexual conduct after a jury trial

  and sentenced to prison. Id. at 807. After the verdict was entered, a member of the

  jury, Juror A,” revealed at a hearing that her father had sexually abused her at age

  eight; however, she had not disclosed that information during voir dire. Id. at 807,

  815.

         At voir dire, the trial court told the jury venire that a defendant has the right

  to a trial by an impartial jury who "must be free as humanly possible, from bias,

  prejudice, or sympathy for either side." Id. During voir dire, Juror A had heard

  other venire members report that they had suffered sexual abuse; she saw that those

  jurors took part in a conference with the court outside the presence of the other

  jurors; and, she understood that those jurors were subsequently excused for cause.

  Id. at 808, 813-814.

         The trial court's statements to the venire included a question about being a

  "victim or accused of a crime," and another question underscoring that the case

  was about criminal sexual conduct. Id. at 814. In addition, the prosecutor asked if

  “anyone just because of the type of case it is, is going to have trouble sitting on this

  case?". Id. The court also asked about experiences that might affect impartiality:

         [W]e need to find out if you have any opinions or personal experiences that
         might influence you for or against the prosecution, the defendant, or any
         witnesses. One or more of these things could cause you to be excused, in this
         particular case, even though you may otherwise be qualified as a juror. The
         questions may probe deeply into your attitudes, beliefs, and experiences.
         They are not meant to be an unreasonable prying into your private life. The

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        law requires that we get this information so that an impartial jury can be
        chosen. [English, 900 F.3d at 814.]


        The Sixth Circuit Court of Appeals held that the juror had deliberately

  omitted material information during voir dire, and that a finding of bias could be

  inferred. Id. at 817. That is, the petitioner had met the U.S. Supreme Court’s test in

  McDonough, showing not only that there was a material omission, but "that a

  correct response would have provided a valid basis for" a for-cause challenge. Id.

  (citing McDonough, 464 U.S. at 556).

        This case involves the same facts relevant to the decision in English. The

  introduction to the juror’s questionnaires put the prospective jurors on notice that

  “[t]he purpose of these questions is to determine whether prospective jurors can

  impartially decide this case based upon the evidence presented at trial and the

  instructions on the law given by the presiding judge,” and “[y]ou are sworn to give

  true and complete answers.” (Juror V Sealed Questionnaire, Doc. 1-16, Pg ID

  3261). “Please answer each question as fully and completely as possible. Your

  complete candor and honesty is necessary so that both the prosecution and the

  defense will have a meaningful opportunity to select an impartial jury.” Id. at

  3261-62. “The jury in this case will be asked to listen to the evidence presented in

  court and make their decision based ONLY on the evidence they hear in court.” Id.




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  at 3263. “You must answer truthfully and honestly and will be asked to affirm that

  you did so at the end of the questionnaire under penalty of perjury.” Id.

        Some of Juror V’s answers to the questionnaire violated the spirit of full and

  complete disclosure that was required. Juror V stated that she did not know anyone

  who was a member of the Seven Mile Bloods or that she did not know anyone who

  had a dispute with any gang member; however, she failed to disclose that she knew

  of the Seven Mile Bloods and gangs like them, and that she knew how gangs had

  ruined her neighborhood. Id. at 3274 (# 40, 42).

        Juror V denied that she or anyone she knew had an experience with a gang,

  and she denied that she had “any views or opinions or any other reason why [she]

  could not be objective and impartial in this particular case” due to gangs and the

  charged distribution of drugs. Id. at 3274-75 (# 43, 48).

        Juror V denied that she had heard anything about this case or the people

  involved, and whether or not she had made up her mind about the Defendants’


  guilt. Id. at 3275-76 (# 50A, C, D). And Juror V stated that she would not do any

  research on the internet concerning the case. Id. at 3278 (# 59).

        In court, the jury panel was immediately notified about the reasons for voir

  dire and their individual obligations to disclose material information about

  themselves:



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        THE COURT. The questions asked during this process are meant to find out
        if you know anything about the case. Also, we need to find out if you have
        any opinions or personal experiences that might influence you for or against
        the prosecution, the defendant or any of the witnesses in the case. [Voir
        Dire, Doc 1301, Pg ID # 16819.]
                                               * * *
        The case that brings you here today is a criminal case which involves
        allegations of a racketeering enterprise, alleging that the Seven Mile Bloods
        and -- as a racketeering enterprise, has engaged in certain racketeering
        activity . . . . All six of the defendants who are here today are charged with
        being members or associates of the Seven Mile Bloods . . . . [Id. at 16821-
        822.]

        Juror V also heard the defense attorneys question a number of jurors about

  their strong, negative opinions about gangs and rap music—that the jurors

  associated gangs with violence, drugs, and have an overall bad image keeping

  those jurors from being impartial. (Voir Dire, Doc 1301, Pg ID # 16896-897;

  16922; 16937-938; 16954-955). Those jurors who had a bias against gang

  members were excused for cause. Id. at 16956, 16960 (Jurors 23, 148, and 184);

  and Voir Dire, Doc. 1302, Pg ID # 17018 (Juror 171)).

        One defense attorney told the panel that “I looked at some of your

  questionnaires, and we all -- a lot of you come from different areas around the

  state, and I have some real concerns as to whether you have biases that could

  spillover to you not being able to look at this evidence without being affected by

  your biases. Can you render a fair and impartial verdict? (Voir Dire, Doc. 1301, Pg

  ID # 16915-916).



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        Because of the defense’s concern about impartiality toward gang members,

  one defense attorney repeated the request for revealing any biases: “After all of the

  questions that the government asked and we all asked, does anybody now have a

  reason or opinion that they could not sit and be impartial in this case? Id. at 16954.

        Later, the Court questioned jurors about being exposed to any news

  coverage of this case, noting that “That's, again, information outside the confines

  of the courtroom.” (Voir Dire, Doc. 1302, Pg ID # 17027). Initially, the parties

  agreed to excuse for cause any juror who had been exposed to the media coverage.

  Id. at 17026-029. Three jurors were excused, but then brought back to the panel to

  assess their media exposure if any of those jurors happened to be called to the jury

  box. Id. at 17029, 17032-033, 17038. One of those jurors initially excused, Juror

  307, was later excused for cause because of her exposure to the media story. (Voir

  Dire, Doc. 1303, Pg ID # 17137-143.

        A juror who had a family member murdered from gang activity was also

  excused for cause. (Voir Dire, Doc. 1302, Pg ID # 17055-056).

        Juror V was called to the jury box at the end of the second day of void dire,

  but she was not questioned until the following day. Id. at 17175. Before being

  questioned by the Court, Juror V again heard other jurors questioned about gang

  related bias. Id. at 17096, 17170. One juror saw gang related “scenes” while living

  in Chicago, and another had a nephew convicted for violent crimes who lived on


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  the East side of Detroit and was familiar with the Seven Mile Bloods name. Id. at

  17170. The second juror who knew the name of the Seven Mile Bloods was

  excused for cause. Id. at 17171.

        When Juror V was called to the box, the Court engaged in the following voir

  dire questioning:

        THE COURT: And you heard the other questions asked of the perspective
        jurors?
        JUROR NO. 16: Yes.
        THE COURT: And based on those questions, is there any information that
        you feel should be brought to our attention?
        JUROR NO. 16: No. [Voir Dire, Doc. 1303, Pg ID # 17326.]

                                            * * *

        THE COURT: Okay. Anything about the nature of the case that raises
        concerns for you?
        JUROR NO. 16: No. [Id. at 17237.]

        As soon as the Court was finished with its questions, a defense attorney

  immediately questioned another juror about being exposed to any outside

  information about the case, giving Juror V a final notice that her bias and media

  exposure were material:

        MR. H. SCHARG: In reference to this case, you indicated that you had
        some reference to serious allegations in this case. Have you read anything
        about this case?
        JUROR NO. [**]: No, I haven't.
        MR. H. SCHARG: Have you heard anything other than what you heard in
        the court about this case?
        JUROR NO. [**]: No, I haven't. [Id. at 17239.]



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        Just as in Ewing v Berghuis, supra, it was made clear to Juror V that her

  biases, personal knowledge, and exposure to the media article were material and

  she had an obligation to disclose them.

        Here, Juror V lived near the red zone and personally knew about its

  significance to the case a relation to gang violence. (Ex. A)(Ex. B). She had

  witnessed what she considered to be the destructive effects of gang activity in her

  neighborhood, including the Seven Mile Bloods’ graffiti, and she believed that

  people like the Defendants in this case were ruining the neighborhood, they needed

  to burn and “had to go down.” Id. Juror V also openly refused to decide the case

  based on the evidence presented, excusing herself from that obligation in front of

  the other jurors, because she had personal knowledge of the area, gangs, and

  Detroit neighborhoods, and the other suburbanite jurors did not. Id.

        Juror V claimed personal knowledge about the location of the 007 strip club,

  openly relying on and referring to her personal knowledge during deliberations. Id.

        Finally, Juror V and another juror, “Juror C,” apparently read a Detroit News

  article about the Seven Mile Bloods during deliberations, and they apparently

  referred to those News article facts that were not presented at trial. Id.

        Juror F and L’s Affidavits demonstrate an external influence (Juror V’s

  personal knowledge, and Juror V and Juror C’s consideration of the Detroit News




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  article). Their Affidavits also demonstrate juror impartiality (Juror V’s bias against

  the Seven Mile Bloods and gangs).

        Juror V’s bias can be favorably compared with the facts and decision in

  United States v. Perkins, 748 F.2d 1519 (11th Cir. 1984). In Perkins, after a hung

  jury and an Allen instruction (Allen v. United States, 164 U.S. 492, 501, 17 S. Ct.

  154, 157 (1896), the jury returned a guilty verdict. Id. at 1529. Later two jurors

  contacted the defense attorney and indicated that the guilty verdict was not theirs,

  that they had been pressured by other jurors to convict, and that they succumbed to

  the pressure because they were physically and mentally exhausted. Id. One of those

  jurors also stated that a fellow juror who had been "especially committed to return

  a 'guilty' verdict" had said that he knew the defendant and had served on "some

  committee" with him, and failed to disclose prior civil and criminal litigation. Id. at

  1530-31. That juror who knew the defendant also claimed that he knew where a

  particular person (a Dr. Scanks) lived, which was a material fact at trial. Id. at

  1522, 1530.

        The district court in Perkins conducted a hearing and interviewed the jurors.

  Id. at 1530. After the hearing, the district court denied the defendant's motion for a

  new trial. Id. at 1531. On appeal, the Eleventh Circuit reversed and remanded,

  finding that the juror’s omissions during voir dire warranted a presumption of

  actual bias. Id. at 1533.


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        As for the external influence, the Court found that the juror had stated during

  deliberations that he knew the defendant or that he had served on a committee with

  him, and that the juror had disputed the defendant’s testimony as to where Dr.

  Scanks lived. Id. The Perkins Court stated that

        [e]xtrinsic evidence, evidence that has not been subject to the procedural
        safeguards of a fair trial, threatens such constitutional safeguards as the
        defendant's right of confrontation, of cross-examination, and of counsel. In
        addition, since such evidence has not been subject to the rules of evidence, it
        may confuse the jurors.

               When jurors consider extrinsic evidence, a new trial is required if the
        evidence poses a reasonable possibility of prejudice to the defendant.
        Prejudice from extrinsic evidence is assumed in the form of a rebuttable
        presumption and the government bears the burden of demonstrating that the
        consideration of the evidence was harmless. [Perkins, 748 F.2d at 1533
        (citations omitted).]


        The Eleventh Circuit determined that the extraneous information might have

  influenced the verdict and remanded the case for a new trial. Id. at 1534. The

  juror’s comments were made to a jury that was deadlocked for many hours and

  “made by a juror who was outspoken in his belief that Perkins should be

  convicted.” Id. at 1534.

        Here, the jury was similarly deadlocked, and Juror V and Juror C relied on a

  Detroit News article during deliberations. In Thomas, 463 F.2d at 1063, the

  Seventh Circuit found that “the district court, when presented with evidence

  indicating that a prejudicial news article was actually present in the jury room and,


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  more importantly, that it was in fact used by some jurors to persuade others, was at

  the very minimum required to investigate further.”

         Not only was the deadlocked jury apparently exposed to facts from the

  Detroit News article, but Juror V outspokenly maintained that her personal

  knowledge about gangs, Detroit neighborhoods, the red zone, and the destructive

  effects occurring in those neighborhoods should be relied on to support a guilty

  verdict. Although Juror V did not personally know the Defendants as the juror had

  in Perkins, Juror V’s external personal knowledge is just as prejudicial because it

  was extrinsic evidence that had not been subject to the procedural safeguards of a

  fair trial, and threatened the Defendants’ rights of confrontation, cross-


  examination, and to counsel. In addition, since such evidence had not been subject

  to the rules of evidence, it confused the jurors, who thought that they had to vote

  either guilty or not guilty, and Juror V’s personal knowledge evidence was a basis


  for their verdict.

         Juror V also deliberately omitted to tell this Court and the Defense Attorneys

  about her bias and impartiality against the Seven Mile Bloods based on her

  personal knowledge from living in or near the red zone neighborhood and seeing

  Seven Mile Blood graffiti, and the ruinous effects of gangs on Detroit

  neighborhoods. Juror V deliberately hid her bias because she had a strong motive


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  to convict: the Defendants “had to go down” because “it was guys like them that

  were ruining the neighborhood.” (Ex. A).

        If Juror V had been open and honest during voir dire, she would have been

  dismissed for cause. "At stake is [Petitioner's] right guaranteed by the Sixth

  Amendment to an impartial jury; the principal way this right is implemented is

  through the system of challenges exercised during the voir dire of prospective

  jurors." Hughes v. United States, 258 F.3d 453, 457-58 (6th Cir. 2001)(citations

  omitted).

        A defendant may obtain a new trial if an impaneled juror's honest responses

  to questions on voir dire would have given rise to a valid challenge for cause.

  McDonough, 464 U.S. at 556. Challenges for cause are subject to approval by the

  court and must be based on a finding of actual or implied bias." Hughes, 258 F.3d

  at 457-58 (6th Cir. 2001)(citing Virgin Islands v. Felix, 569 F.2d 1274, 1277 n.5

  (3d. Cir. 1978)).

        Pursuant to the Sixth Amendment, for a finding of juror impartiality when a

  juror is challenged for cause, the relevant question is "did the juror swear that he

  could set aside any opinion he might hold and decide the case on the evidence, and

  should the juror's protestation of impartiality have been believed." Patton v. Yount,

  467 U.S. 1025, 1036, 104 S. Ct. 2885, 81 L. Ed. 2d 847 (1984).




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        Here, Juror V’s bias was not challenged by the Court or the Defense

  Attorneys because they did not know about it. Juror V did not protest her

  impartiality against the defense’s questioning, which would have definitely

  occurred had the defense known about Juror V’s biases.

        Should Juror V’s impartiality be presumed or believed? No. Any claim that

  she was impartial should not be believed because she could not set aside her

  opinion that the Defendants “had to go down” because “it was guys like them that

  were ruining the neighborhood.” (Ex. B). She was personally affected by the Seven

  Mile Bloods, and her bias and impartiality denied the Defendants a fair trial.

        The facts and legal argument in Ewing v. Horton, No. 17-2485, 2019 U.S.

  App. LEXIS 3528 (6th Cir. Feb. 5, 2019)(see attached unpublished opinion), a

  very recent Sixth Circuit Court of Appeals decision, support the requirement of

  holding a Remmer hearing in this case. In Ewing, the defendant was convicted in

  the Michigan state courts for murder and other charges arising from a gang-related

  shooting. Id. at 2. The victim and two other passengers were members of a gang

  known as the Knock Out Boys, and the defendant allegedly belonged to the rival

  Hustle Boys. Id. at 2-3. The prosecution’s theory was that the shooting was part of

  a feud between the gangs. Id. at 3. On the second day of deliberations, the jury was

  deadlocked, but the court charged them to continue deliberations. On the fourth

  day the jury found the defendant guilty. Id.


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        Two months later, a juror filed an affidavit accusing two other jurors of

  conducting internet research about the case and discussing their findings during

  deliberations. Id. at 1. That juror swore the following in her affidavit:

        5. [Juror #13] discussed Facebook look up information during deliberations.
        [Juror #13] brought up information regarding Mr. Ewing's and Mr. Searcy's
        past. [Juror #13] said she saw on Facebook a picture of Mr. Ewing and a girl
        with the caption "Mr. and Mrs. Nasty" and had brought to the juror's
        attention that she had read an [sic] eulogy online for J.B. Watson.

        6. [Juror #5] brought up during juror deliberations that she had googled gang
        information and knew about gang codes and that gang activity involved
        killing people.

        7. [Juror #5] also said during deliberations that gangs have a pecking order
        according to information she googled at home. She went on to say that
        Darrell Ewing was at the top of the pecking order. That would put Tyree
        Washington at the bottom and the gang decided to sacrifice Tyree
        Washington by setting him up as the fall guy for the murder. According to
        [Juror #5], the above information was based on what she had read on line
        [sic] regarding the history of gangs on the goggle web site [sic]. [Ewing,
        2019 U.S. App. LEXIS 3528 at 4.]


        The defendant in Ewing exhausted his state appeals and filed a timely

  petition for writ of habeas corpus claiming he was denied his constitutional rights

  to a fair trial and an impartial jury because of the jury's consideration of extraneous

  facts. Id. at 6. The district court found that the defendant had "shown that the

  internet information may have tainted the jury,” but that the actual effect of the

  extraneous information was unknowable without an evidentiary hearing. Id. at 6-7.




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  The district court granted the defendant’s petition and ordered the State to afford a

  new trial. Id. at 7.

         The Sixth Circuit and the parties in Ewing agreed that the defendant had

  been “unconstitutionally denied an opportunity to prove that he was actually

  prejudiced by the use of outside internet research.” Id. 7-8. The Sixth Circuit Court

  stated that

         the Byrnes affidavit states that the jury learned of and discussed outside
         information about the defendant, the murder victim, and the activities and
         internal power-dynamics of gangs. Such information had a clear potential
         for tainting the jury. The State has accordingly made the reasonable
         concession on this appeal that it was contrary to established law for the state
         court to deny Ewing an opportunity to show the actual effect that the
         information had on the jury. (Emphasis added.) [Ewing, 2019 U.S. App.
         LEXIS 3528 at 7-8.]

         The same circumstances requiring an evidentiary hearing exist in this case.

  Juror F and L’s Affidavits show that Juror V injected an extraneous influence and

  bias in the deliberations, that is, Juror V’s bias and personal knowledge of gangs in

  the red zone, the crimes and harm that they cause, and her personal knowledge

  obtained from media articles. Under Ewing, supra, the Defendants are entitled to

  an evidentiary hearing.

         WHEREFORE, the Defendants move this Honorable Court for a new trial;

  or, alternatively, for a Remmer evidentiary hearing with the deliberating jurors

  subpoenaed by the Court for testimony.



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  Dated: February 11, 2019


        Respectfully submitted by:

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                         Certificate Regarding Concurrence

        I certify and affirm, in compliance with E.D. Mich. LR 7.1(a)(2)(A), that
  there was a conference between the attorneys of record in which the movant
  explained the nature of the motion or request and its legal basis and requested but
  did not obtain concurrence in the relief sought.

                                  By: s/Mark H. Magidson
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                           CERTIFICATE OF SERVICE

        I certify that on February 11, 2019, I electronically filed the above Motion,
  with the Clerk of the Court using the CM/ECF system.
                                         By: s/Mark H. Magidson
                                         MARK H. MAGIDSON (P25581)
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